Case 1:24-cv-02535-ACR Document4 Filed 11/20/24 Pagelof1

AFFIDAVIT OF PROCESS SERVER

United States District Court for the District of Columbia

Dinesh Patel Attorney: NONE
Plaintiff(s), Dinesh Patel
"8 2118 Walsh Ave, Suite 240
. Santa Clara CA 95050
Defendant(s). *398331«

Case Number: 1:24-cv-02535-ACR

Legal documents received by Same Day Process Service, Inc. on 11/13/2024 at 1:17 PM to be served upon
Georgetown Software House, Inc. at 6704 5th St NW, Washington, DC 20012

I, Stuart Macpherson, swear and affirm that on November 18, 2024 at 2:30 PM, I did the following:

Served Georgetown Software House, Inc. by delivering a conformed copy of the Summons in a Civil Action;
Unlimited Jurisdiction Complaint for: 1. Trademark Infringement (15 U.S.C. 1114); 2. Unfair Competition and
False Designation of Origin (15 U.S.C. 1125(a)); 3. Common Law Trademark Infringement and Unfair
Competition; 4. Declaratory Relief Pursuant to (28 U.S.C 2201); Exhibits; Civil Cover Sheet; Pro Se Plaintiff's
Motion for CM/ECF User Name and Password, and for Authorization to E-file; [Proposed] Order; Civil Docket
for Case #: 1:24-cv-02535-ACR or Docket Report of case 1:24-cvy-02535-ACR as of November 12, 2024. to
Bediako George as Registered Agent of Georgetown Software House, Inc. at 6704 5th St NW, Washington, DC
20012.

Description of Person Accepting Service:
Sex: Male Age: 55 Height: 5ft9in-6ft0in Weight: Over 200 Ibs Skin Color: Brown Hair Color: Black & Gray

Supplemental Data Appropriate to this Service:

I declare under penalty of perjury that the foregoing information contained in this affidavit is true and correct and that I
am a professional process server over the age of 18 and have no interest in the above legal matter.

Yi

Stuart Mac her Internal Job
Process Sent 1D:326331
Same Day Process Service, Inc. a5,
1413 K St., NW, 7th Floor

Washington DC 20005 2

(202)-398-4200

* a
info @samedayprocess.com
